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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS




Long Hongmei

                   Plaintiff
                                                 CIVIL ACTION
            V.
                                                 NO. 20-11227-ADB

Nicolas Mastroianni, III et al

                   Defendant


                               ORDER OF DISMISSAL


Burroughs, D. J.


     In accordance with the Court's Electronic Order dated September 8,
2020 it is hereby ORDERED that the above-entitled action be and hereby is
DISMISSED.


                                           By the Court,


 9/8/2020                             /s/ Christina McDonagh
     Date                                       Deputy Clerk
